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     corporation
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11
                                  UNITED STATES DISTRICT COURT
12
                   CENTRAL DISTRICT OF CALIFORNIA—SOUTHERN DIVISION
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14   LDR INTERNATIONAL LIMITED, a                     )   Case No. íFYíí'2& -'([
15   British Virgin Island corporation;               )
                                                      )   ORDER GRANTING PLAINTIFF’S
16                   Plaintiff,                       )   EX PARTE APPLICATION FOR
                                                      )   ORDER ALLOWING ISSUANCE
17            v.                                      )   AND SERVICE OF THIRD-PARTY
                                                      )   BUSINESS RECORD SUBPOENAS
18   SARA JACQUELINE KING, an                         )   [21]
     individual, and KING FAMILY                      )
19   LENDING LLC, a California limited                )
     liability company;                               )
20                                                    )
                     Defendants.                      )
21                                                    )
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           ORDER GRANTING PLAINTIFF’S EX PARTE APPLICATION FOR ORDER ALLOWING ISSUANCE AND SERVICE OF
                                     THIRD-PARTY BUSINESS RECORD SUBPOENAS
 Case 8:23-cv-00257-DOC-JDE Document 35 Filed 05/08/23 Page 2 of 2 Page ID #:180



 1         For good cause shown, Plaintiff LDR International Limited’s (“Plaintiff”) Ex
 2   Parte Application for Issuance of an Order Allowing Issuance and Service of Third-
 3   Party Business Record Subpoenas is hereby granted. Plaintiff may immediately, and
 4   prior to the Federal Rule of Civil Procedure rule 26(f) conference or the Federal Rule of
 5   Civil Procedure rule 16(b) scheduling conference, issue and serve third-party business
 6   record subpoenas.
 7         IT IS SO ORDERED.
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 9    Dated: May 8, 2023                     ______________________________
                                                  HON. DAVID O. CARTER
10                                                UNITED STATES DISTRICT JUDGE
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       ORDER GRANTING PLAINTIFF’S EX PARTE APPLICATION FOR ORDER ALLOWING ISSUANCE AND SERVICE OF
                                 THIRD-PARTY BUSINESS RECORD SUBPOENAS
